Case 18-26407-JKS   Doc 52 Filed 12/22/18 Entered 12/23/18 00:36:12   Desc Imaged
                          Certificate of Notice Page 1 of 3
Case 18-26407-JKS   Doc 52 Filed 12/22/18 Entered 12/23/18 00:36:12   Desc Imaged
                          Certificate of Notice Page 2 of 3
        Case 18-26407-JKS             Doc 52 Filed 12/22/18 Entered 12/23/18 00:36:12                                Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 18-26407-JKS
Franciscus Maria Dartee                                                                                    Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: Dec 20, 2018
                                      Form ID: pdf903                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 22, 2018.
db             +Franciscus Maria Dartee,   c/o 12 Moonshadow Court,   Kinnelon, NJ 07405-2949

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 22, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 20, 2018 at the address(es) listed below:
              Ashley L. Rose    on behalf of Defendant   The Bank of New York Mellon Corporation dba The Bank of
               New York Mellon f/k/a The Bank of New York as successor in interest to JP Morgan Chase Bank, NA
               arose@se-llp.com
              Laura M. Egerman    on behalf of Creditor   THE BANK OF NEW YORK MELLON bkyecf@rasflaw.com,
               bkyecf@rasflaw.com;legerman@rasnj.com
              Michael A. Artis    on behalf of U.S. Trustee   U.S. Trustee michael.a.artis@usdoj.gov
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 4
